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                 UNITED STATES DISTRICT COURT
                    DISTRICT OF NEW JERSEY
                           NEWARK
                             Minutes of Proceedings


Judge:    Esther Salas                     Date: April 1, 2020

Court Reporter:     Mary Jo Monteleone

Deputy Clerk : Elisaveta Kalluci

                               Docket # Cv. 19-07846(ES)(SCM)
Title of the Case

NIEMCZYK v. PRO CUSTOM SOLAR

Appearances:

No Appearances


Nature of Proceedings:

Opinion on the Defendant's pending motion to dismiss (D.E. No.
[12]) read into the record.




                                                       Elisaveta Kalluci
                                                       Courtroom Deputy
